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UN|TED STATES BANKRUPTCY COURT
FOR THE DlSTR|CT OF COLORADO

|n re:
11380 SM|TH RD LLC

A Co|orado Limited Liability Co.
E|N XX-XXXXXXX

Case No. 18-‘| 0965 TBM
Chapter 11

Debtor.

 

NOT|CE PURSUANT TO LOCAL RULE 9013.1 OF THE APPL|CAT|ON TO
EMPLOY WE|NMAN & ASSOCIATES, P.C. AS COUNSEL
FOR DEBTOR-|N-POSSESS|ON

 

OBJECTlON DEADL|NE: FEBRUARY 27, 2018
TO ALL PART|ES iN lNTEREST:

NOTICE |S HEREBY G|VEN that on even date herewith, Debtor filed an
App|ication to Employ Weinman & Associates, P.C. as its counsel in this bankruptcy
matter. The Firm has received a $20,000 retainer attributable to the Debtor. A portion of
the retainer was expended on pre-petition services and costs including the filing fee. The
balance of the retainer is being kept in a Coitaf account The Firm claims an attorneys lien
in the retained funds. Upon information and belief, no party in interest has a senior lien or
interest in the funds being retained by the Fin'n. A copy of the App|ication is on tile at the
United States Ban|<ruptcy Court for the District of Colorado, First F|oor, U.S. Custom
House, 721 19th Street, Denver, Coiorado 80202 for your inspection or by request to the
undersigned

lf you oppose the motion or object to the requested reiief, your objection and
request for hearing must be filed on or before the objection deadline stated above, served
on the Movant at the address indicated below, and must state clearly all objections and any
legal basis for the objections The Court will not consider general objections

In the absence of a time|y, substantiated objection request for hearing by an
interested party, the Court may approve or grant the requested relief without any further
notice to creditors or other interested parties.

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DATED: 2113!18
Respectful|y Submitted,

WE|NMAN & ASSOC|ATES, P.C.

By: \s\Jeffrey A. Weinman
Jeffrey A. Weinman, #7605

730 17th Street

Suite 240

Denver, Co|orado 80202
Phone: (303) 572-1010
Fax: (303) 572-101 1

jweinman@epitrustee.corn

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CERTIF|CATE OF MA|L|NG
| HEREBY CERT|FY that a true and correct copy of the foregoing Notice

Pursuant to Loca| Ru|e 9013.1 of Debtor's Application to Emp|oy Weinman & Associates,
P.C. as Counse| for Debtor-ln-Possession, has been placed in the United States mail,

postage pre-paid on this 13"‘ day of Februa[y, 2018 to the following:

See attached mailing matrix obtained from the Court's E|ectronic data base.

\s\Lisa Barenberg

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District of Colsrado

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Byron G. Rogsrs Federal Building
1961 Stout St.

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11380 Smith load
Aurora, 00 00010-1400

Louis Bard
7585 B. Biscay Street
hurora, 00 00016-1004

Xcal anrgy
P.O. lott 9411
tiiaueapolis, llli 55484-9411

Addrssses marked lc} above for the following entity!sntitiss ware corrected
ss required by the UBI’S Local:abls Addrsss Coovsrsicn Systll lLACSl .

David baird, Bsq.

says ilhil:e, LLP

1400 16th Btreet, Sth Flcor
Dsnver, 00 80202

md cf Labsl iiatrix

Haiiahle recipients B
Bypassed recipients 0
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